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             IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                     NORTHERN DIVISION


OSCAR STILLEY                                                    PLAINTIFF

v.                                              CIVIL NO. 3:19cv6‐HTW‐LRA

WARDEN RIVERS, ET AL.                                        DEFENDANTS




                REPLY IN SUPPORT OF DEFENDANTS’
                       MOTION TO DISMISS




     Defendants Warden Christopher Rivers, Director J. F. Caraway,

Director J. A. Keller, Federal Bureau of Prisons, The United States of

America, U.S. Attorney General William Barr, former complex warden

David Paul, and Director Kathleen Hawk Sawyer (hereinafter

“Defendants”) reply in support of their Motion to Dismiss. See Dkt. No. 27.

                               I. DISCUSSION

     Relevant here, Plaintiff Oscar Stilley (“Stilley” or “Plaintiff”) sued

Defendants for various alleged policy and constitutional violations.

See Dkt. No. 1. Stilley never exhausted all levels of administrative review
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for any of his non‐FTCA claims.1 See Dkt. No. 27‐1 (Declaration of Lisa

Singleton). Therefore, Defendants moved to dismiss Stilley’s non‐FTCA

claims for failure to exhaust such claims administratively. See Dkt. No. 28

(discussing non‐exhaustion argument and necessity of dismissal pursuant

to Fed. R. Civ. P. 12(b)(6)).

      Stilley responded to Defendants’ motion. See Dkt. Nos. 31; 32. After

stripping away the unfounded conspiracy theories and unsupported

accusations, Stilley’s response centers on whether he is mentally able to

exhaust his administrative remedies. See, e.g., Dkt. No. 31 ¶¶ 23, 45;

Dkt. No. 32, at 3‐4 (discussing Stilley’s experience and legal qualifications).

      Federal inmates routinely exhaust administrative remedies for all

sorts of claims. Stilley provides no basis for this Court to conclude that he

should be excused for his failure to meet the routine requirement of

exhaustion. He simply states that he is intelligent and an “experienced

former attorney, with enormous incentive to exhaust.” See Dkt. No. 31



      1   Stilley’s FTCA claims are the subject of a separate motion to dismiss. See Dkt.
No. 25.

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¶ 45. Those general, unsupported statements are insufficient to survive

Defendants’ motion to dismiss. See Dkt. No. 28, at 7‐10 (discussing non‐

exhaustion argument).

      Because Stilley did not exhaust the administrative‐remedy process

for any of his claims, all of his claims—other than his FTCA claims—

against Defendants must be dismissed for failure to state a claim. See Fed.

R. Civ. P. 12(b)(6); see also Ross v. Blake, 136 S. Ct. 1850, 1857 (2016) (noting

that the PLRA “establish[es] a mandatory exhaustion regime[]” that

“foreclose[es] judicial discretion”).

                                   II. CONCLUSION

      For the reasons stated in Defendants’ Motion to Dismiss and

supporting Memorandum Brief, this Court should dismiss Plaintiff’s

claims, other than his FTCA claim against the government,2 for failure to

state a claim on which relief can be granted.

                                         Respectfully submitted,

                                         D. MICHAEL HURST, JR.

      2  Plaintiff’s claims under the FTCA are the subject of a separate motion to dismiss
filed on behalf of the United States of America. See Dkt. No. 25.

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                           CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing

with the Clerk of the Court using the Electronic Case Filing system (ECF). I

certify that a true copy of the foregoing has been mailed via United States

Mail, postage prepaid, to the pro se plaintiff as follows:

      Pro Se Plaintiff
      Oscar Stilley
      Fed. Reg. No. 10579‐062
      FCC Yazoo City Camp
      P. O. Box 5000
      Yazoo City, MS 39194

Dated: April 6, 2020

                                       /s/ Jennifer   Case
                                     JENNIFER CASE
                                     Assistant United States Attorney




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